           Case 5:22-cv-02637-PCP Document 47-2 Filed 06/15/22 Page 1 of 7




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11                                UNITED STATES DISTRICT COURT

12                               NORTHERN DISTRICT OF CALIFORNIA

13                                      SAN JOSE DIVISION

14

15 APPLE INC.,                                     Case No. 5:22-CV-2637-EJD

16                  Plaintiff,                     DEFENDANTS RIVOS INC. AND WEN
                                                   SHIH-CHIEH’S SUR-REPLY IN IN
17            vs.                                  OPPOSITION TO APPLE’S EX PARTE
                                                   MOTION FOR A TEMPORARY
18 RIVOS INC., WEN SHIH-CHIEH a/k/a                RESTRAINING ORDER, EXPEDITED
   RICKY WEN and BHASI KAITHAMANA,                 DISCOVERY, AND ORDER TO SHOW
19                                                 CAUSE
               Defendants.
20                                                 Date:            June 16, 2022
                                                   Time:            9:00 a.m.
21
                                                   Trial Date:          None Set
22

23                                                   REDACTED FOR PUBLIC FILING
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                                                                         Case No. 5:22-CV-2637-EJD
     AND
                                            SUR-REPLY IN OPPOSITION TO APPLE’S EX PARTE MOTION
        Case 5:22-cv-02637-PCP Document 47-2 Filed 06/15/22 Page 2 of 7




 1          Defendants Rivos Inc. (“Rivos”) and Wen Shih-Chieh (“Wen”) submit this sur-reply to

 2 address new evidence and issues raised in Plaintiff Apple Inc.’s (“Apple”) reply brief. This is not a

 3 comprehensive response to Apple’s reply. Rather, Defendants submit this brief response to correct

 4 misstatements and address new evidence in Apple’s reply in advance of the Court’s consideration

 5 of Apple’s motion. Because Defendants only received Apple’s list of purported misappropriated

 6 documents for the first time when Apple filed its ex parte application, Defendants’ forensic

 7 examiner did not have enough time to complete his inspection of both Wen’s devices and Rivos’

 8 systems. Defendants thus provide an update on the forensic examiner’s findings to date, which were

 9 unavailable at the time Defendants filed their opposition.

10 I.       Apple Distorts The Record And Ignores That Defendants Have Offered The Relief

11          Apple Seeks
12          Apple’s reply misrepresents the extent to which Defendants have attempted to cooperate in
13 this case. On June 9, counsel for Defendants spoke with counsel for Apple. (Swedlow Decl. ¶2.)

14 This was the first phone call between the parties, and it was scheduled at Defendants’ request (Apple

15 initially rejected the notion there was any reason even to speak by phone). (Id.) It was Defendants’

16 intention to be cooperative and provide Apple with the information it needed to take its ex parte

17 motion off calendar, including providing Apple with Wen’s hard drive, conducting searches of

18 Rivos’ systems, and providing written responses to some of Apple’s discovery requests (despite the

19 fact there is no basis for a claim against Rivos) to provide comfort to Apple that Rivos and Wen

20 have not misappropriated any Apple trade secrets. (Id.) Defendants’ goal in requesting a call to

21 discuss open issues with respect to these topics was to avoid the need for any hearing before this

22 Court. (Id.) During the call, Defendants’ counsel made clear: (1) Wen would share his hard drive

23 and, to facilitate this, requested that Apple provide a written forensic inspection protocol (just as

24 Apple had been negotiating with Kaithamana); (2) Wen would agree to voluntarily stipulate to the

25 restrictions described in Apple’s proposed temporary restraining order; and (3) Rivos would search

26 its systems for any Apple documents to further assure Apple there is no claim against Rivos. (Id. ¶

27 3.) It was clear, however, Apple was not interested in resolving the issues. (Id. ¶ 4.)

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                                                     -1-                     Case No. 5:22-CV-2637-EJD
                                                SUR-REPLY IN OPPOSITION TO APPLE’S EX PARTE MOTION
       Case 5:22-cv-02637-PCP Document 47-2 Filed 06/15/22 Page 3 of 7




 1          The next day, June 10, counsel for Defendants sent Apple a proposed stipulated order that

 2 would resolve the TRO and order to show cause portions of Apple’s ex parte motion as to Wen.

 3 (Swedlow Decl. Ex. B.) The stipulated order is substantively equivalent to that which Apple entered

 4 with Defendant Bhasi Kaithamana (“Kaithamana”) on May 17, 2022 (see Dkt. No. 19). Apple took

 5 several days to respond, then demanded that: (i) Wen and Apple split the costs of Apple’s

 6 investigation of Wen’s devices; (ii) Wen turn over his device before Apple provides its proposed

 7 forensic inspection protocol; (iii) Wen provide the actual hard drive, rather than an image, as Apple

 8 had proposed just days before; and (iv) the order to show cause remain on calendar, despite the fact

 9 that the stipulation would moot the need for any injunctive relief. (Swedlow Decl. ¶ 7.) Although

10 Defendants would prefer not to burden the Court with a dispute that should be resolved between the

11 parties, they will not agree to these terms. (Id.)

12          Apple also mischaracterizes Apple’s request to directly contact Rivos’ employees. (Reply

13 at 1, 3, 15.) California law makes clear that Apple cannot contact employees of an opposing party.

14 See e.g. California Rule of Professional Conduct 4.2(b) (“In the case of a represented corporation,

15 partnership, association, or other private or governmental organization, this rule prohibits

16 communications with . . . A current employee, member, agent, or other constituent of the

17 organization, if the subject of the communication is any act or omission of such person* in

18 connection with the matter which may be binding upon or imputed to the organization for purposes

19 of civil or criminal liability.”) Yet Apple’s counsel appeared (during the sole conference between

20 the parties’ counsel) to not know the rule that when you sue a company, you no longer have the right

21 to contact its current employees. (Swedlow Ex. A.) Simply, Apple chose to sue Rivos without any

22 pre-litigation effort to resolve the issue, or even informing Rivos or the individual Rivos employees

23 of Apple’s allegations. If Apple was actually interested in the return of any inadvertently retained

24 Apple documents from former employees, it could have contacted the Rivos employees before suing

25 Rivos with no basis for a claim. It did not.

26          Finally, Apple blames Defendants for delaying Apple’s investigation. (Reply at 3, 5.) The

27 reality is that Defendants promised to provide Apple with an update on their investigation by May

28 31—precisely to avoid the need for Apple to file any motion. Apple disregarded Defendants’

                                                       -2-                     Case No. 5:22-CV-2637-EJD
                                                  SUR-REPLY IN OPPOSITION TO APPLE’S EX PARTE MOTION
         Case 5:22-cv-02637-PCP Document 47-2 Filed 06/15/22 Page 4 of 7




 1 commitment to investigate Apple’s claims and filed the instant ex parte motion. Moreover, it was

 2 not until Apple filed its ex parte motion that it even informed Defendants which files it believed

 3 Wen took so that Defendants could search for the files. While Apple complains that Defendants

 4 have not provided information about documents potentially retained by other Rivos employees,

 5 Apple still has provided no information regarding which Apple files, if any, it believes those

 6 employees currently possess (despite counsel’s repeated specific requests for this information).

 7 (Swedlow Decl. ¶ 8.) Apple’s suggestion (Reply at 2) that the letters sent to each of the 41 other

 8 Rivos employees somehow contained information sufficient to assist Defendants’ investigation is

 9 objectively false—most of the letters contained nothing more than a reminder of continued

10 confidentiality obligations to Apple.1 Apple also has provided no information regarding which files

11 it believes Rivos must search for with respect to Kaithamana. And while Apple claims that Wen

12 should have provided his hard drive to Apple “weeks ago” (Reply at 4), Apple neglects to mention

13 that Defendants have repeatedly asked Apple to provide a proposed forensic inspection protocol

14 (the same thing Apple has been negotiating for five weeks with counsel for Kaithamana), and Apple

15 only provided an initial proposal on June 14. Apple’s delay and gamesmanship cannot justify the

16 extraordinary relief it seeks.

17 II.      Defendants Conducted A Timely Forensic Inspection And Uncovered No Access To
18          Apple Confidential, Proprietary, Or Trade Secret Documents
19          Defendants have now conducted multiple forensic examinations. First, Defendants’ forensic
20 examiner imaged Wen’s hard drive, which was identified in the Roffman Declaration filed in

21 support of Apple’s ex parte motion, Wen’s iCloud account and Google Drive, and Wen’s Rivos

22 laptop. (Kunkel Decl. ¶ 7.) Defendants’ forensic examiner searched for the documents identified

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        Specifically, of the 41 other Rivos employees who received letters, 25 contained no allegations
25   whatsoever, 11 included allegations limited strictly to deleting data, and five contained allegations
     regarding accessing, sending, or retaining allegedly confidential but unidentified Apple documents.
26   (Swedlow Decl. ¶ 8.) Counsel will bring all of these letters to the hearing for the Court’s review.
     Regardless, given Apple’s focus in its Reply (at 2) on the letter sent to one former employee,
27   Defendants’ forensic examiner conducted a review of that device. (Kunkel Decl. ¶ 15.) The last
28   accessed date pre-dated that employee’s work at Rivos, and there was no evidence of any access of
     any file on the device during that employee’s work at Rivos. (Id.)
                                                     -3-                     Case No. 5:22-CV-2637-EJD
                                                SUR-REPLY IN OPPOSITION TO APPLE’S EX PARTE MOTION
       Case 5:22-cv-02637-PCP Document 47-2 Filed 06/15/22 Page 5 of 7




 1 in Appendix B to the Roffman Declaration,2 as well as terms in the file name that would indicate a

 2 document contained potential Apple confidential, proprietary, or trade secret information. (Id. ) As

 3 to the hard drive identified in the Roffman Declaration, of the 3.3 million artifacts identified on

 4 Wen’s hard drive, almost none of them had been accessed since August 2021, when Wen resigned

 5 from Apple. (Id. ¶ 12.) The only access information shows a very few documents with a “last

 6 access” date of April 30, 2022, the day after Apple filed its complaint. (Id.) This “access” relates

 7 to Mr. Wen looking on the drive after receiving the complaint to try to figure out what Apple was

 8 accusing him of doing. Further, the metadata indicates that an automatic process (likely the MacOS

 9 spotlight service) “accessed” the files, rather than Wen opening or otherwise reviewing the files.

10 (Id.) This finding is consistent with Wen’s statement in his June 3 declaration that, after he received

11 the April 29 letter from Apple, he briefly accessed his external hard drives to see what the Apple

12 attorneys were talking about. (Id.; June 3, 2022 Wen Decl. ¶ 6.)

13          As to Wen’s iCloud account, the only Apple documents that have been identified to date are

14 2020-dated draft performance assessments of four Apple employees,3 whom Wen managed, totaling

15 16-pages of entirely non-technical information. (Kunkel Decl. ¶ 10.) Because Wen modified these

16 documents in 2020 (at the request of his manager during his employment at Apple) using iCloud

17 note, they were saved to his iCloud account; Defendants’ forensic examiner has confirmed they

18 were loaded into the iCloud account in 2020. (Id.) These same documents were also found on

19 Wen’s Rivos-issued laptop as a result of an automatic syncing process that occurs when a user logs

20 into his or her iCloud account from a new device. (Id.) More specifically, when Wen accessed his

21 iCloud account for the first time after receiving his Rivos-issued laptop, the iCloud account and the

22 device automatically synced, which resulted in copies of the files in the iCloud account being

23 automatically stored in the new laptop and vice-versa. (Id.)

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      As set forth in Defendants’ opposition, Apple refused to identify the documents or information
26 that it accused Defendants of misappropriating. (Opp. at 5, 11-12.) Thus, Defendants did not have

27 this information until Apple filed the instant motion and provided its “Trade Secret Disclosure” just
   two days before Defendants’ opposition was due.
28 3 None of these employees have been hired by Rivos.

                                                     -4-                     Case No. 5:22-CV-2637-EJD
                                                SUR-REPLY IN OPPOSITION TO APPLE’S EX PARTE MOTION
       Case 5:22-cv-02637-PCP Document 47-2 Filed 06/15/22 Page 6 of 7




 1          As to Wen’s Google drive, Defendants’ forensic examiner found seven account statements

 2 from Chase Bank, dated 2015, for Article Circle, LLC. (Id. ¶ 9.) While these documents were

 3 identified in Appendix B to the Roffman Declaration, they have no connection whatsoever to Apple.

 4 Rather, they reflect rent payments for an investment property that Wen owns with his wife. The

 5 fact that these documents are entirely unrelated to Apple is apparent from their face, and contradicts

 6 Apple’s expert’s assertion that listing of files in Appendix B “appear to be Apple files,” as well as

 7 Apple’s Trade Secret Identification, which incorporates every one of these documents. (Rothman

 8 Dec., ¶ 20.) Instead, it appears that Apple has merely listed all of the files in Wen’s Desktop and

 9 Downloads folders, regardless of whether the documents are actually Apple documents, let alone

10 whether the documents contain trade secrets or are otherwise confidential. This is consistent with

11 Apple’s conduct thus far in this case—to impermissibly attempt to “discover” a claim against Rivos

12 when it has none.

13          Finally, Defendants’ forensic examiner searched Rivos’ systems for the documents

14 identified in Appendix B to the Roffman Declaration, as well as terms in the file name that would

15 indicate a document came from Apple or contained Apple confidential, proprietary, or trade secret

16 information. (Id. ¶¶ 7, 8.) None of the files identified in Appendix B to the Roffman Declaration

17 were identified on Rivos’ systems. (Id. ¶ 13.) Nor have any documents with file names that may

18 indicate they originated from Apple been found on Rivos’ systems. (Id.)

19          Given the lack of evidence of trade secret misappropriation found against either Rivos or

20 Wen, Apple’s request for a TRO or expedited discovery is unnecessary and unjustified.

21 III.     Conclusion

22          Apple’s ex parte motion should be denied. Wen has already agreed to the same “relief”
23 Apple obtained from Kaithamana. There is no basis for a claim against Rivos, and Rivos should

24 have the opportunity to move to dismiss Apple’s trade secret misappropriation claim prior to Apple

25 getting a fishing expedition through unwarranted discovery to look for a claim. That is not the way

26 the court system is intended to work and is particularly inappropriate in trade secrets cases where

27 Apple has done nothing more than identify categories of information it would like to find within

28 Rivos as theoretical Apple trade secrets.

                                                     -5-                     Case No. 5:22-CV-2637-EJD
                                                SUR-REPLY IN OPPOSITION TO APPLE’S EX PARTE MOTION
     Case 5:22-cv-02637-PCP Document 47-2 Filed 06/15/22 Page 7 of 7




 1 DATED: June 15, 2022              Respectfully submitted,

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 4

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                                         -6-                     Case No. 5:22-CV-2637-EJD
                                    SUR-REPLY IN OPPOSITION TO APPLE’S EX PARTE MOTION
